     Case 2:05-cr-00180-LRS    ECF No. 180   filed 05/26/06   PageID.508 Page 1 of 2




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                               UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF WASHINGTON
10
      UNITED STATES OF AMERICA,                  )
11                                               )     No. CR-05-180-LRS-4
                         Plaintiff,              )
12                                               )     ORDER GRANTING UNOPPOSED
      v.                                         )     MOTION TO AMEND
13                                               )
      BLAKE ALAN CARLSON,                        )
14                                               )
                         Defendants.             )
15                                               )

16         BEFORE THE COURT is Defendant’s unopposed Motion to Amend (Ct.

17   Rec. 175).       For good cause shown,

18         IT    IS    ORDERED    the   Motion       (Ct.   Recs.   175)   is   GRANTED.

19   Defendant’s conditions of release are MODIFIED as follows:

20         1.     Defendant shall be allowed to travel outside the State of

21   Washington for work-related purposes, with prior notice to Pretrial

22   Services.

23         2.     Defendant may travel to St. Louis, Missouri, in July 2006,

24   for a seminar.       However, prior to June 30, 2006, Defendant shall

25   provide in writing to Pretrial Services the name and address of

26   where the Defendant will be staying while in St. Louis, and the

27   dates he will be leaving and returning.

28         2.     Defendant shall abide by all other conditions in the


     ORDER GRANTING UNOPPOSED MOTION TO AMEND - 1
     Case 2:05-cr-00180-LRS    ECF No. 180   filed 05/26/06   PageID.509 Page 2 of 2




 1   court’s Order filed October 27, 2005.
 2         DATED May 26, 2006.
 3
 4                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION TO AMEND - 2
